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                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
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11   DANIEL BRIAN VIGIL,                      )   Case No.: 8:20-cv-01352-GJS
                                              )
12                Plaintiff,                  )   [PROPOSED] ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
13         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
14   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
     Acting Commissioner of Social            )   U.S.C. § 1920
15   Security,                                )
                                              )
16                Defendant                   )
                                              )
17
18         Based upon the parties’ Stipulation for the Award and Payment of Equal
19   Access to Justice Act Fees, Costs, and Expenses:
20         IT IS ORDERED that fees and expenses in the amount of $4,100.00 as
21   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
22   awarded subject to the terms of the Stipulation.
23   DATE: September 29, 2021
24                                          ___________________________________
                                            GAIL J. STANDISH
25                                          UNITED STATES MAGISTRATE JUDGE
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